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                 EXHIBIT V
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   Application/Control Number: 17/150,587                                               Page 10
   Art Unit: 1629
           The nonstatutory double patenting rejection is based on a judicially created
   doctrine grounded in public policy (a policy reflected in the statute) so as to prevent the
   unjustified or improper timewise extension of the "right to exclude" granted by a patent
   and to prevent possible harassment by multiple assignees. A nonstatutory double
   patenting rejection is appropriate where the conflicting claims are not identical, but at least
   one examined application claim is not patentably distinct from the reference claim(s)
   because the examined application claim is either anticipated by, or would have been
   obvious over, the reference claim(s). See, e.g., In re Berg, 140 F.3d 1428, 46 USPO2d
   1226 (Fed. Cir. 1998); In re Goodman, 11 F.3d '1046, 29 USPO2d 2010 (Fed. Cir.
   1993); In re Long!, 759 F.2d 887, 225 USPQ 645 (Fed. Cir. 1985); In re Van Ornurn, 686
   F.2d 937, 214 USPQ 761 (CCPA 1982); In re Vogel, 422 F.2d 438, 164 USPQ
   619 (CCPA 1970); In re Thorington, 418 F.2d 528. 163 USK). 644 (CCPA 1969).

          A timely filed terminal disclaimer in compliance with 37 CFR 1.321 (c) or 1.321(d)
   may be used to overcome an actual or provisional rejection based on nonstatutory double
   patenting provided the reference application or patent either is shown to be commonly
   owned with the examined application, or claims an invention made as a result of activities
   undertaken within the scope of a joint research agreement. See MPEP § 717.02 for
   applications subject to examination under the first inventor to file provisions of the AlA as
   explained in MPEP § 2159. See MPEP §§ 706,02(1)(1) - 706.02(1)(3) for applications not
   subject to examination under the first inventor to file provisions of the AM. A terminal
   disclaimer must be signed in compliance with 37 CFR 1.321 (b).

           The USPTO Internet website contains terminal disclaimer forms which may be
   used, Please visit www.usoto.g         r     nts-forms. The filing date of the application
   in which the form is filed determines what form (e.g., PTO/SB/25, PTO/SB/26,
   PTO/A1A/25, or PTO/A1A/26) should be used. A web-based eTerminal Disclaimer may be
   filled out completely online using web-screens. An eTerrninal Disclaimer that meets all
   requirements is auto-processed and approved immediately upon submission. For more
   information                 about                eTerminal                   Disclaimers,
   refer to ,ivww.us o o at.E.intshrocessifileiefsiguidanceleTD-info-1 s

          Claims 1-20 are rejected on the ground of nonstatutory double patenting as being

   unpatentable over claims 1-20 of U.S. Patent No. 9,669,008, (008), claims 1-20 or US

   patent No. 10,039,745 (745), Claims 1-30 of US 10,772868 (`868), Claims 1-28 of US

   Patent No. 10,786,482 ('482), Claims 1-14 of US Patent No. 10,799,476 (476), Claims 1-

   30 or US patent No, 10,918,621 C621). Although the claims at issue are not identical,

   they are not patentably distinct from each other.




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                                                                       Attorney Docket No. 43060-707.308

                      IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




  In re the Application of:                              Group Art Unit:         1629

  Inventors:      Gerold L. Mosher, et al.               Confirmation No.: 8547

  Serial No.:     17/150,587                             Examiner:               Savitha M. Rao

  Filed:          January 15, 2021                       Customer No.:           21971

  Title:          ENALAPRIL FORMULATIONS
                                                                         Certificate of Electronic Filing
                                                         I hereby certify that the attached Response and all accompanying
                                                         papers is being deposited by Electronic Filing on April 23, 2021,
                                                         by using the EFS — Web patent filing system and addressed to:
                                                         Commissioner for Patents, P.O. Box 1450, Alexandria, VA
                                                         22313-1450.

                                                         By:/Lisa Fralick/



   Mail Stop Amendment
   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450


                                DECLARATION OF GEROLD MOSHER

           I, Gerold Mosher, state and declare as follows:

           1.      I am currently employed at Azurity Pharmaceuticals, Inc., a company formed in May
   2019 by the acquisition of Silvergate Pharmaceuticals, Inc. by CutisPharma, Inc.

           2.      I received my Bachelor's degree in Pharmacy from the University of Kansas in 1979.
   I also received a Master and a Doctor of Philosophy in Pharmaceutical Chemistry in 1984 and 1986,
   respectively, from the University of Kansas.

           3.      I have been employed at Silvergate Pharmaceuticals and now Azurity
   Pharmaceuticals since 2013, and my current position is Vice President of Product Development. As
   part of my job duties, I develop oral formulations for pediatric use. I have a small laboratory where I




                                                                                                     BION-ESOL-00038480
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   develop, characterize and move formulations through the steps required for FDA approval and
   eventual sale.

          4.        Early in my career, I practiced pharmacy for two years from 1979 to 1981.
   Subsequently, I worked in large pharmaceutical companies (Eli Lilly and Merck) for about ten years
   where I focused primarily on pre-formulation and early phase formulations of new drug products.
   After leaving these companies and prior to Silvergate Pharmaceuticals, I have also been employed
   by small startup companies to develop new solubilizing technology for oral, injectable, and
   inhalation formulations.

          5.        In total, I have been in the field of pharmaceutical chemistry for about 42 years, and
   have extensive experience in developing pharmaceutical formulations. My Curriculum Vitae is
   attached as Exhibit A.

          6.        I am familiar with the subject matter claimed in U.S. Pat. App. Ser. No.
   17/150,587 ("the '587 application"), and I am a named inventor on this application.

           7.       I am aware of the Office Action mailed in this matter on April 19, 2021. I am also
   aware that the pending claims stand rejected as allegedly being obvious under 35 U.S.C. 103 over
   Nahata et al., Am. J. Health-Syst. Pharm., 1998, vol. 55, pages 1155-1157 ("Nahata") in view of
   Sosnowska et al., Acta Poloniae Pharmaceutica - Drug Research, 2009, vol. 66, no. 3, pages 321-326
   ("Sosnowska") in view of Boukarim et al., J. Appl. Res., 2009, vol. 9, no. 1&2, pages 14-17
   ("Boukarim"). I have reviewed these three cited references.

          8.        I am submitting this declaration to address the comments made in the Office Action.

          9.        The '587 application relates to enalapril oral liquid formulations that are stable at
   about 5±3 °C for at least 12 months. The development of this described enalapril formulation was
   oriented on preparing a safe, stable, uniform oral liquid with minimal degradation and having an
   acceptable taste for pediatric patients.

          10.       Traditionally, approved methods of delivering enalapril to pediatric patients requires
   (1) administering a solid enalapril tablet or portion thereof to the patient, (2) extemporaneously
   preparing an oral liquid suspension from enalapril tablets and a diluent, such as the method described
   in "Nahata" and subsequently administering the suspension to the patient, or (3) reconstituting a


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   powder in a liquid carrier. All of these methods are undesirable and have limitations. For tablets, it is
   well known that children have difficulty swallowing solid oral dosage forms. For the second method,
   extemporaneously prepared oral liquids present additional challenges and issues with respect to
   dosing accuracy and stability, as well as can introduce compounding errors and cross-contamination.

          11.       As compared to these currently available methods, the enalapril oral liquid
   formulation claimed in the '587 application provides several advantages:

                •   Improved ease of administration. It is easier for many patients to swallow a liquid
                    than to swallow a tablet,
                •   Patient Compliance. Patients are more likely to take a dose that is not difficult to
                    swallow, or difficult to prepare,
                •   Accuracy of dosing. The prescribing information for enalapril tablets provides dosing
                    guidelines based on the weight of the child. When one only has fixed 2.5, 5 or 10 mg
                    tablets available, it is difficult if not impossible to break the tablets in such a way to
                    get an exact dose if the dose is something other than the tablet strength. In addition, if
                    tablets are compounded into a suspension, the tablets are crushed in a mortar and then
                    mixed with a liquid. There is no guarantee that the drug dissolves in, or is dispersed
                    evenly in the liquid (thus leading to potential dosing errors. Moreover, there is always
                    the chance of contamination of the resulting liquid by residual drugs or substances in
                    the mortar. Similarly, in reconstitutable powders, there is also no guarantee that the
                    powder dissolves or disperses evenly in the diluent.

          12.       The oral enalapril liquid formulations of the '587 application have superior
   stability—they are stable at 5±3 °C for 12 months or longer with minimal degradation. The stability
   is an important aspect of the present formulations. It contributes to the consistency and uniformity
   of the formulations as well as allows for accuracy of dosing to patients.

          13.       Evidence of the superior stability of the formulations disclosed in the '587
   application can be found in exemplary formulations V-3.0, V-3.3, V-3.5, X-1 and X-2 shown in
   Table 1. Formulations V-3.0, V-3.3, and V-3.5 were prepared by adding individually the sodium
   benzoate, sucralose and mixed berry flavor to about 95% of the final formulation volume of
   purified water and dissolving each with mixing before adding the next. Enalapril maleate was then

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   added and dissolved with mixing and the pH was adjusted with HC1 or NaOH to the target pH.
   Purified water was added to bring each formulation to final volume. Formulation X-1 was prepared
   by adding the methyl paraben and propyl paraben to about 95% of the final formulation volume of
   purified water. The water was heated with mixing to 50°C and mixed until the parabens were
   dissolved. The solution was cooled to room temperature and the sucralose and mixed berry flavor
   were added one at a time with mixing until each was dissolved before the next was added. Enalapril
   maleate was then added and dissolved with mixing and the pH was adjusted with HC1 or NaOH to
   the target pH. Purified water was added to bring the formulation to final volume. Formulation X-2
   was prepared by adding the methyl paraben and propyl paraben to about 95% of the final
   formulation volume of purified water. The pH of the solution was raised to 7.8 with the addition of
   5 N NaOH, and the solution mixed until the parabens were dissolved. The pH was then lowered to
   4.5 with the addition of 5N HC1. The sodium saccharin and mixed berry flavor were added one at a
   time with mixing until each was dissolved before the next was added. Enalapril maleate was then
   added and dissolved with mixing and the pH was adjusted with HC1 or NaOH to the target pH.
   Purified water was added to bring the formulation to final volume.

                                                  TABLE 1
                               Composition of Enalapril Maleate Formulations
                                          Liquid Formulations (mg/mL)
       Component                   V-3.0          V-3.3           V-3.5        X-1         X-2
       Enalapril maleate           1.00            1.00           1.00         1.00       1.00
       Methylparaben                                                           1.80       1.80
       Propylparaben                                                           0.20       0.20
       Sodium benzoate             1.00            1.00           1.00
       Sodium saccharin                                                                    2.0
       Sucralose                   0.70            0.70           0.70         0.70
       Mixed berry flavor          0.50            0.50           0.50         0.50       0.50
       5N HCL/NaOH for pH
                                As needed       As needed       As needed   As needed   As needed
       adjustment
       Purified water               qs              qs             qs           qs         qs
       pH (measured)               3.03            3.33           3.50         3.31       3.31




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          14.      As shown in Table 1 above, formulations V-3.0, V-3.3, V-3.5, X-1 and X-2 were
   prepared with various preservatives, sweeteners, and pH values. Formulations of Table 1 do not
   require additional buffering agents other than enalapril maleate, which is a salt of an amino acid. As
   an amino acid, an enalapril molecule contains carboxylic acid and amine groups that can dissociate
   and thus balance the pH variations.

          15.      The formulations of Table 1 were mixed well, then twenty milliliter aliquots of each
   formulation were placed into 30-cc HDPE bottles. The bottles were screw-capped, induction sealed,
   and placed into storage at 5°C ± 3°C and at 25°C ± 2°C/60% ± 5% Relative Humidity. At various
   times, duplicate bottles were removed from the storage condition and analyzed by High Pressure
   Liquid Chromatography (HPLC) with UV detection. Average values of the duplicate results are
   presented in the Tables 2 and 3 below.

          16.      The results of the HPLC analysis for the diketopiperazine and enalaprilat degradants
   and total degradants in the samples are provided in Table 2.

                                                        TABLE 2
                          Degradant Content After Storage (% w/w of enalapril maleate)
                                          Storage                         Formulation
                                     °C       Weeks       V-3.0   V-3.3     V-3.5       X-1    X-2
                Diketopiperazine      5             0      0.08   0.08       0.07       0.07   0.07
                                                    4      0.10   0.07       0.09       0.08   0.07
                                                    8      0.12   0.10       0.09       0.09   0.09
                                                12         0.17   0.12       0.11       0.11   0.11
                                     25             0      0.08   0.08       0.07       0.07   0.07
                                                    4      0.36   0.25       0.20       0.25   0.26
                                                    8      0.61   0.40       0.32       0.42   0.44
                                                12         0.83   0.55       0.42       0.57   0.61
                Enalaprilat           5             0      0.00   0.00       0.00       0.00   0.00
                                                    4      0.12   0.11       0.16       0.10   0.11
                                                    8      0.19   0.23       0.24       0.16   0.16



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                                                12         0.28   0.32       0.36       0.23   0.23
                                     25             0      0.00   0.00       0.00       0.00   0.00
                                                    4      0.47   0.52       0.56       0.45   0.45
                                                    8      0.83   0.95       1.04       0.84   0.84
                                                12         1.16   1.32       1.44       1.18   1.18
                Total Impurities      5             0      0.08   0.08       0.07       0.07   0.07
                                                    4      0.22   0.18       0.25       0.18   0.19
                                                    8      0.31   0.33       0.33       0.25   0.25
                                                12         0.47   0.46       0.48       0.35   0.35
                                     25             0      0.08   0.08       0.07       0.07   0.07
                                                    4      0.83   0.77       0.76       0.69   0.72
                                                    8      1.44   1.35       1.36       1.27   1.28
                                                12         2.10   1.97       1.97       1.86   1.88

          17.      The results of the HPLC analysis for enalapril maleate in the samples are provided in
   Table 3.

                                                        TABLE 3
                              Enalapril Maleate Content After Storage (% of initial)
                                          Storage                         Formulation
                                     °C       Weeks       V-3.0   V-3.3     V-3.5       X-1    X-2
                Enalapril Maleate     5             0     100.0   100.0     100.0   100.0      100.0

                                                    4     99.7    99.8      99.8    99.6       99.7

                                                    8     101.4   101.4     101.4   101.3      101.3

                                                12        99.4    99.4      99.4    99.2       99.3

                                     25             0     100.0   100.0     100.0   100.0      100.0

                                                    4     99.2    99.2      99.6    99.1       99.2

                                                    8     100.2   100.3     100.3   100.1      100.2

                                                12        97.8    97.9      97.9    97.8       97.8

          18.      Table 2 shows that the total impurity content for these formulations remained less
   than 1% when stored at 5 °C for 12 weeks and less than 2.5% when stored at 25 °C for 12 weeks.




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   The enalapril maleate assay results in Table 3 show that all the formulations have greater than 97%
   of the initial enalapril maleate content after 12 weeks at 5 °C or 25 °C.

          19.     In my review of the references cited in the Office Action, none of the references
   describe this stability of at least 12 months at 5±3 °C or any means of achieving this stability for
   enalapril formulations.

          20.     I have reviewed Nahata, which describes extemporaneous preparations of oral liquid
   enalapril formulations prepared by crushing enalapril tablets with a mortar and pestle and
   suspending the resulting ground tablets in water, citrate buffer, or Ora-Plus/Ora-Sweet. On stability,
   Nahata states that the "compounded oral liquids [were] stable for 91 days at 4 and 25 °C" and it
   defines stable as "concentration after storage [] >90% of the initial concentration." Table 1 of Nahata
   shows that the enalapril extemporaneous formulations exhibited about 5% loss of enalapril after
   about 56 days at 4 °C and about 5% loss of enalapril after about 91 days at 25 °C.

          21.     I have reviewed Sosnowska, which similarly describes extemporaneous enalapril
   suspensions. The suspensions disclosed in Sosnowska were obtained by grinding tablets and
   suspending the resultant powder in a hydroxyethylcellulose solution or in a mixture that contains
   raspberry syrup and hydroxyethylcellulose solution. Based on the 30-day stability data shown in
   Table 1 of Sosnowska, these extemporaneous formulations have comparable stabilities to the
   formulations of Nahata, which is retaining about 98% of initial enalapril concentration after stored at
   refrigerated condition for 30 days. As noted in Sosnowska, "in the absence of microbiological data,
   the shelf-life given to extemporaneous products containing preservatives is usually 30 days." Page
   325 of Sosnowska.

          22.     I have also reviewed Boukarim, which does not provide the stabilities of liquid
   enalapril formulations.

          23.     To compare the stability of the enalapril oral liquid formulations of the instant
   application (e.g., formulations V-3.0, V-3.3, V-3.5, X-1 and X-2 in Table 1) with the
   extemporaneous preparations, such as those described in Nahata, the enalapril content of the Nahata
   formulations and that of formulations V-3.0, V-3.3, V-3.5, X-1 and X-2 are provided in Table 4.



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                                      Table 4: Enalapril content in formulations after storage
                                     Nahata                                          Formulations of Instant Application
                               storage at 4 °C                                                storage at 5 °C
    Days water                  Citrate              1:1 Ora-       V-3.0             V-3.3        V-3.5         X-1               X-2
                               Buffer pH             Plus/Ora-
                                  5.0                  Sweet
      0       100                100                    100         100.0             100.0         100.0          100.0           100.0
      7       98.6               98.7                   99.4
     14       98.1               99.1                   98.6
     28       97.6               98.7                   98.4        100.0             100.0         100.0          100.0           100.0
     42       97.1               98.5                   97.9
     56       96.5               97.3                   96.9        101.4             101.4         101.4          101.3           101.3
     70       95.2               96.3                   96.1
     84                                                                 99.4           99.4         99.4           99.2            99.3
     91       94.8                  95.9               95.8

           24.                 To further describe the contrast in stability, the enalapril concentrations published by
   Nahata, and the concentrations from formulations V-3.0, V-3.3, V-3.5, X-1 and X-2 are plotted
   graphically in Figure 1 with linear regression of the data for extrapolation.


                                    Figure 1. Enalapril Maleate Content after Storage at about 5°C
                  102
                                                                                                    Nahata-Water

                  100                                                                               Nahata-Citrate Buffer pH 5.0
                                ,                                                                   Nahata-1:1 Ora-Plus/Ora-Sweet
                      ....- ' 0
                   -- es. . ,
          ,---.        Q
                   0                                                                           0    V-3.0

          -                         4 ;,.                                                      CI   V-3.3
          '---' 96                    <ta,w.
                                                                                               A    V-3.5

                                                                                               X    X-1
          w        94
                                               '%,                                             +    X-2

                                                                                                    Nahata-Water
                   92
                                                                                                    Nahata-Citrate Buffer pH 5.0

                                                                                                    Nahata-1:1 Ora-Plus/Ora-Sweet
                   90
                           0          60        120           180   240        300       360
                                                      Days of Storage




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          25.      Table 4 and Figure 1 show that formulations of the instant application exhibit
   excellent stability for at least 12 months (52 weeks) at 5 °C with little loss of enalapril content, in
   contrast to the extemporaneous preparations of Nahata (stability is defined as no more than 5%
   formation of degradants and 5% loss of enalapril). While Nahata does not disclose stability at about
   5 °C for more than 90 days, the extrapolated lines show that at about 100 days, the extemporaneous
   preparations are unstable with respect to the enalapril content in the preparation. The enalapril
   content and total impurity data submitted in Tables 2-4 and Figure 1 show that the formulations of
   the present application are significantly more stable than the extemporaneously prepared
   formulations.

          26.      I declare that all statements made herein are true to the best of my knowledge, or if
   made upon information and belief, are believed to be true; and further that these statements were
   made with the knowledge that willful false statements and the like so made are punishable by fine or
   imprisonment, or both, under Section 1001 of Title 18 of the United States Code and that such
   willful false statements may jeopardize the validity of the application or any patent issued thereon.



      Respectfully submitted on April 23, 2021,




      Gerold L. Mosher, Ph.D.




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                  Title of Invention:              ENALAPRIL FORMULATIONS




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